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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

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UNITED STATES OF AMERICA                   )
                                           )
                                           )
                   v.                      ) Case No. 1:19-CR-10080-NMG
                                           )
                                           )
DAVID SIDOO, et al.,                       )
                                           )
                             Defendants.   )
                                           )




                               MICHELLE JANAVS’
                       APPENDIX OF EXHIBITS IN SUPPORT OF
                           SENTENCING MEMORANDUM
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